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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                       :        CASE NO. 18-53572-pmb
                                             :
KENNETH GREGORY COOK,                        :
                                             :
         Debtor.                             :
                                             :        CHAPTER 13
                                             :

                       OBJECTION TO CONFIRMATION OF PLAN

         COMES NOW The Southland Owners Association, Inc., a secured creditor in these

proceedings, and objects to confirmation of Debtor’s Plan on the following grounds:

                                                 1.

         On March 2, 2018, Debtor filed the above-referenced case pursuant to Chapter 13 of the

Bankruptcy Code.

                                                 2.

         The Southland Owners Association, Inc. (“The Southland”) holds a claim secured by a

lien on for Debtor’s property at 5771 Southland Walk, Stone Mountain, Georgia 30087. The

Southland’s claim for association assessments and associated charges is secured by a lien

provided by Declaration of Covenants, Conditions and Restrictions for The Southland, as

amended, recorded in the records of the Clerk, DeKalb County Superior Court and the Georgia

Property Owners’ Association Act. See O.C.G.A. § 44-3-232.
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                                               3.

       Debtor’s proposed Chapter 13 Plan [Document no. 18] does not properly provide for the

curing of the pre-petition arrearage. On April 24, 2018, The Southland filed its secured Proof of

Claim for $4,682.46. Debtor proposes to pay The Southland $2,800.00 with no interest. Also,

owner has not paid a post-petition assessment of $197.50 which was due April 1, 2018.

                                               4.

       At the time Debtor filed his case, he was in default in civil action file no. 17CV12498-3

pending in DeKalb County Superior Court. The Plan in this case, is not proposed in good faith.

11 U.S.C. §1325(a)(3).

                                               5.

       The Plan is not proposed in good faith. 11 U.S.C. §1325(a)(3). The Southland does not

accept the proposed Plan and the Plan does not adequately provide for The Southland’s lien. 11

U.S.C. §1325(a)(5).

                                               6.

       Debtor’s proposed Plan does not comply with the provisions of Chapter 13 of the United

States Bankruptcy Code. 11 U.S.C. §1325(a)(1).
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       WHEREFORE, The Southland prays that confirmation be denied and Debtor’s case be

dismissed.

       This 7th day of May 2018.

                                                       Respectfully Submitted,

                                                       LAZEGA & JOHANSON LLC

                                                       s/Richard J. Joseph
                                                       Richard J. Joseph
                                                       Georgia Bar No. 405325
                                                       Attorney for The Southland
                                                       Owners Association, Inc.

P.O. Box 250800
Atlanta, Georgia 30325
Telephone: 404-809-2401
Facsimile: 404-350-1193
1602C310
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                       :      CASE NO. 18-53572-pmb
                                             :
KENNETH GREGORY COOK,                        :      CHAPTER 13
                                             :
    Debtor.                                  :
                                             :

                                CERTIFICATE OF SERVICE

       I, Richard J. Joseph, certify that I am over the age of 18 and that on May 7, 2018 I served
a copy of the foregoing Objection to Confirmation of Plan by first class U.S. Mail, with
adequate postage prepaid on the following persons or entities at the addresses stated:

                              Kenneth Gregory Cook
                              5771 Southland Walk
                              Stone Mountain, GA 30087

                              Howard P. Slomka, Esq.
                              Slipakoff & Slomka, PC
                              Overlook III, Suite 1700
                              2859 Paces Ferry Road, S.E.
                              Atlanta, GA 30339

                              Melissa J. Davey, Esq.
                              Chapter 13 Trustee
                              260 Peachtree Street, N.W., Suite 200
                              Atlanta, GA 30303

         This 7th day of May 2018.

                                                    s/Richard J. Joseph
                                                    Richard J. Joseph
                                                    Georgia Bar No. 405325
LAZEGA & JOHANSON LLC
3520 Piedmont Road N.E., Suite 415
Atlanta, Georgia 30305
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